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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,

Plaintiff, Case No.: 24-cr-00057-GKF-1
VS. Date: 3/1/2024
Court Time: 2:00 p.m.
Morgan Cole Womack,
Defendant(s). MINUTE SHEET — ARRAIGNMENT
Susan E. Huntsman, U.S. Magistrate Judge D. Gross, Deputy Clerk Magistrate Courtroom 1
Counsel for Plaintiff: Adam Bailey
Counsel for Defendant: Craig M Hoehns , Appt.
Interpreter: QO sworn
Defendant appears in person for Arraignment on: ® Indictment; UO) Information; C Complaint;
X) with Counsel; LC] Counsel waived; OF w/o Counsel;
4 Defendant acknowledges receipt of Indictment Indictment: xf Read; 1 Reading waived;

K Defendant advised of charge;

Defendant’s name as reflected in the Indictment;

Verified in open court as the true and correct legal name
O Corrected by interlineation to

to reflect Defendant’s true and correct legal name and all previous filings are amended by interlineation to reflect same.
C) Unable to verify in open court as the true and correct legal name: FC] U.S. Attorney; LJ Deft’s Att. to verify and advise court;

4 Arraignment held and Defendant pleads Not Guilty; Court accepts plea schedule to be entered;

Defendant waives: OJ Indictment; C Detention Hearing; CL Separate Representation [) Waivers approved by Court;
©) Arraignment continued to: at

C) Detention Hearing scheduled: at

C) Defendant allowed to stand on present bond; LJ) Government stipulates, findings made
Sq Defendant remanded to custody of U.S. Marshal

Additional Minutes:

Minute Sheet - Arraignment (CR-01f 6/2021)
